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                                                                         J S -6
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                                             Attorneys for Defendants and Counter-
 8                                           Claimants Genexa, Inc., Max Spielberg,
                                             and David Johnson
 9
                              UNITED STATES DISTRICT COURT
 10

 11
             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

 12   MICHAEL SINEL, an individual,           Case No. 2:22-cv-03961-FMO (MAAx)
 13             Plaintiff,                    [Lower Court Case No.: 21SMCV01977
                                              Los Angeles County Superior Court,
 14        v.                                 Santa Monica Courthouse]
 15   GENEXA, INC., a Delaware
      corporation; MAX SPIELBERG, an          ORDER GRANTING JOINT
 16   individual; DAVID JOHNSON, an           STIPULATION TO DISMISS
      individual; and DOES 1 through 50,
      inclusive,                              PLAINTIFF’S FIRST AMENDED
 17
                                              COMPLAINT AND COUNTER-
 18             Defendants.                   CLAIMANTS’ COUNTERCLAIM
 19
      GENEXA, INC., a Delaware                Complaint Filed: December 20, 2021
 20   corporation; MAX SPIELBERG, an          First Amended Complaint: May 6, 2022
      individual; DAVID JOHNSON, an           Counterclaim Filed: June 24, 2022
 21   individual;
                                              Trial Date: August 22, 2023
 22             Counter-Claimants.
 23        v.
 24   MICHAEL SINEL, an individual, and
      MSSMD INVESTMENTS, INC., a
 25   Delaware Corporation, and MOES 1
      through 20,
 26
                Counter-Defendants.
 27

 28

          ORDER GRANTING JOINT STIPULATION TO DISMISS PLAINTIFF’S FIRST
           AMENDED COMPLAINT AND COUNTER-CLAIMANTS’ COUNTERCLAIM
Case 2:22-cv-03961-FMO-MAA Document 41 Filed 04/05/23 Page 2 of 2 Page ID #:1078



 1          Pursuant to the Joint Stipulation to Dismiss Plaintiff’s First Amended Complaint
 2    and Counter-Claimants’ Counterclaim filed by MICHAEL SINEL (“Plaintiff”) and
 3    MSSMD INVESTMENTS, LLC, and Counter-Claimants GENEXA, INC., MAX
 4    SPIELBERG, and DAVID JOHNSON (collectively, “Counter-Claimants”) and good
 5    cause appearing, it is hereby ORDERED as follows:
 6          1. Plaintiff’s First Amended Complaint is dismissed with prejudice.
 7          2. Counter-Claimants’ Counterclaim is dismissed with prejudice.
 8

 9    IT IS SO ORDERED.
 10

 11
      Dated: April 5, 2023                                      /s/
                                                    ________________________________
 12
                                                    HON. FERNANDO M. OLGUIN
 13                                                 United States District Court Judge
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                                                2
          ORDER GRANTING JOINT STIPULATION TO DISMISS PLAINTIFF’S FIRST
           AMENDED COMPLAINT AND COUNTER-CLAIMANTS’ COUNTERCLAIM
